                       EXHIBIT 4




Case 3:19-cv-00365   Document 39-5   Filed 08/16/19   Page 1 of 19 PageID #: 429
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 TENNESSEE STATE CONFERENCE OF
 THE N.A.A.C.P., DEMOCRACY
 NASHVILLE-DEMOCRATIC
 COMMUNITIES, THE EQUITY ALLIANCE,
 and THE ANDREW GOODMAN
 FOUNDATION,


                Plaintiffs,
                                                             Case No. 3:19-CV-00365
 v.                                                           Judge Aleta A. Trauger

 TRE HARGETT, in his official capacity as
 Secretary of State of the State of Tennessee,
 MARK GOINS, in his official capacity as
 Coordinator of Elections for the State of
 Tennessee, HERBERT SLATERY III, in his
 official capacity as Attorney General of the
 State of Tennessee, the STATE ELECTION
 COMMISSION, and DONNA BARRETT,
 JUDY BLACKBURN, GREG DUCKETT,
 MIKE MCDONALD, JIMMY WALLACE,
 TOM WHEELER, and KENT YOUNCE, in
 their official capacities as members of the State
 Election Commission,
                Defendants.




               DECLARATION OF DAVID GOODMAN IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


Pursuant to 28 U.S.C. § 1746, I, David Goodman, declare as follows:
       1.      I am at least 18 years of age and have personal knowledge of the below facts

which are true and accurate to the best of my knowledge.


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Case 3:19-cv-00365            Document 39-5     Filed 08/16/19   Page 2 of 19 PageID #: 430
        2.      The facts set forth in this declaration are based on my personal knowledge and

upon information available to me through the files and records of The Andrew Goodman

Foundation. If called upon as a witness, I could and would testify to these facts.

        3.      I am President of The Andrew Goodman Foundation, Inc. (“AGF”). In my role as

President, I am responsible for oversight of AGF and its activities in furtherance of its mission

and vision. My job duties and responsibilities include: development and support of the AGF

Board; Fundraising; supporting the programs department and developing systems for it;

management of human resources; communications, as a spokesperson for the organization and in

coalition support; ensuring compliance with financial reporting and budget management; and

miscellaneous special demands such as visiting college and university campuses (“Campuses”),

conferences, convenings and meetings to develop relationships with AGF campuses, partners,

and potential stakeholders.

        4.      Based on my knowledge and experience, I am familiar with AGF’s voter

registration activities.

                                 Organizational Overview of AGF

        5.      AGF is a national, nonpartisan, nonprofit organization with the mission of making

young voices and votes a powerful force in democracy. AGF’s vision is for young people to

become active, engaged citizens who ensure a just and sustainable future.

        6.      In the summer of 1964, my twenty-year-old brother Andrew Goodman, AGF’s

namesake, participated in Mississippi Freedom Summer, a voter registration project aimed at

registering African-American voters in Mississippi. On Andrew Goodman’s first day, June 21,

1964, he and his fellow civil rights advocates James Chaney and Michael Schwerner were




                                                 2

Case 3:19-cv-00365         Document 39-5        Filed 08/16/19      Page 3 of 19 PageID #: 431
kidnapped and murdered by members of the Ku Klux Klan, who did not want Black

Mississippians to have access to the ballot box and the right to vote.

       7.      Today, among other things, AGF supports Campuses across the country with

training and mentorship, mini-grants for an activities budget to select institutions of higher

learning, and other financial assistance to students in the form of modest stipends provided each

semester.

       8.      AGF is headquartered in New Jersey, and its national reach extends across the

country, in part, through its Vote Everywhere initiative. Vote Everywhere is a national, non-

partisan, civic engagement movement of student leaders (called “AGF Ambassadors”) and

college and university partners, and it works in coordination with AGF headquarters.

                             Budget and Funding Overview of AGF

       9.      AGF’s budget for 2019 is approximately $2.5 million. AGF is funded by

institutional and individual donors to support its mission to make young voices and votes a

powerful force in our democracy.

       10.     AGF’s 2020 budget is not yet completed or approved. The AGF revenue and

expense budgets are based on national programming, not state-by-state.

       11.     As such, when AGF decides to scale back or increase organizational presence in a

state, it impacts national programming because the organization must reallocate and restructure

funding and attention to other states. In addition, when AGF determines whether to continue

working in a particular state, the organization engages in a cost-benefit analysis of how costly it

would be to our national programming if we were to remain in a particular state and attempt to

expand our work there.

                               AGF’s Vote Everywhere Initiative

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Case 3:19-cv-00365         Document 39-5        Filed 08/16/19      Page 4 of 19 PageID #: 432
       12.     AGF’s programming focuses on youth leadership development, organizing,

advocacy, to increase youth civic power, and voter registration and voting rates.

       13.     Consistent with research about the habit-forming nature of voting, and the

importance of establishing lifelong civic engagement early, AGF views voter registration as a

gateway for further civic engagement. In other words, the goal of the Foundation includes, but is

not limited to, boosting voter registration and voting rates for young people. AGF views voter

registration and voting as a component for increasing the likelihood of lifelong civic engagement

and democratic participation.

       14.     According to the Institute for Democracy & Higher Education (IDHE), a leading

venue for research, resources, and advocacy on college student political learning and engagement

in democratic practice, “an election offers the proverbial ‘teachable moment’ for reinforcing and

introducing important principles and practices of shared responsibility, inclusion and equity,

respect for dissenting viewpoints, skilled controversial issue discussions, student voice and

agency, transparency and collaborative decision-making, and standards of evidence and truth.

Political learning and engagement should be pervasive, and it should happen year-round, and

every year . . . .” Report, Ten Recommendations to Increase College Student Voting and Improve

Political Learning and Engagement in Democracy, Tufts Univiversity Institute for Democracy &

Higher Education (2018), https://idhe.tufts.edu/electionimperatives. AGF seizes these “teachable

moments,” by providing opportunities for students to develop all of these important skills

through their experiential learning around voter registration and other electoral activities and

civic education.

       15.     As discussed in more detail below, AGF’s Vote Everywhere initiative provides

extensive training, resources, as well as a peer network to support its AGF Ambassadors while



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Case 3:19-cv-00365         Document 39-5        Filed 08/16/19      Page 5 of 19 PageID #: 433
they work to increase youth civic and electoral engagement, including registering voters,

removing voting barriers, organizing Get Out The Vote activities, and tackling important social

justice issues on their Campuses.

       16.     AGF Ambassadors, also called Student Ambassadors, are current students who

attend a Campus that has a partnership with AGF. As discussed in more detail below, AGF

provides Ambassadors a stipend each semester to carry out activities in furtherance of AGF’s

mission to “make youth voices and votes a powerful force in democracy,” in part through

registering voters and empowering youth voices in civic engagement. As part of their work,

AGF Ambassadors organize a range of voter registration activities including voter registration

drives at high-impact events such as freshman orientation or football games, and invite other

students to participate as volunteers.

       17.     AGF’s Vote Everywhere programming is done on 59 Campuses in 24 states and

Washington, D.C., including in Tennessee at Tennessee State University—the largest and only

state-funded historically Black university in Tennessee.

       18.     AGF, through its Vote Everywhere initiative, enters into a working engagement

with each college and university (called “Campus Partner”), thereby creating an institutional

relationship. Our Campus Partners appoint an administrator from the college faculty or staff

(called “Campus Champion”), to oversee the programming in coordination with AGF program

staff. Together, Campus Champions and AGF staff work with AGF Ambassadors to navigate the

needs and requirements of each institution.

       19.     AGF’s Vote Everywhere initiative is managed by a Program Director, who is a

salaried AGF staff member, and who oversees the work with the Campus Partners and manages

five Program Managers, who are also salaried AGF staff members, including two Southern



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Case 3:19-cv-00365         Document 39-5       Filed 08/16/19     Page 6 of 19 PageID #: 434
Regional Program Managers. The Regional Program Managers work directly with AGF

Ambassadors and Campus Partners providing on-going, daily support to enhance the

Ambassadors’ work on a particular university campus.

       20.      AGF Ambassadorship typically expects, but does not mandate, a three-year

commitment from participants. The length of AGF Ambassadorship depends on the individual

student based on their academic calendar and other competing demands. Students often enter the

program during their sophomore year and are encouraged to continue throughout their

undergraduate academic career.

       21.      While in the program, AGF Ambassadors learn, as part of their educational

experience, to develop strategic organizing skills and advocate for their community’s voting and

civil rights to uphold the democratic process.

       22.      To support their work, each AGF Ambassador receives a $500 stipend per

semester (for a total of $1,000 for the academic school year, unless the AGF Ambassador is the

“Team Leader”, whereupon they receive $600 per semester), an activities budget, and ongoing

mentorship, support, and training from AGF’s staff, Campus Champions and a network of social

change leaders. Generally, two AGF Ambassadors are selected per campus (with one, as the

Team Leader).

       23.      The stipends offered to AGF Ambassadors support a series of their activities

including but not limited to voter registration and Get Out The Vote (“GOTV”), and other social

justice initiatives. Stipends are not offered on the basis of hours completed or number of voter

registration forms collected or filed.

       24.      AGF Ambassadors also have access to the mini-grant of $1,000 per academic

year donated by AGF to the Campus Partners, to support the work of AGF Ambassadors in such



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Case 3:19-cv-00365         Document 39-5         Filed 08/16/19    Page 7 of 19 PageID #: 435
things as buying supplies to support voter registration and (“GOTV”) activities and all related

programming activities.

       25.     To achieve its mission, AGF devotes substantial time, effort, and resources to

training and supporting AGF Ambassadors who work with the Campus Partner to encourage

voting, voter registration, and advocacy for the voting rights of their communities, in addition to

building a civic culture on-campus which includes engagement in important social justice issues.

AGF Ambassadors are, therefore, central to the success of AGF’s mission, and they develop

their own leadership, organizing, and advocacy skills, as they build relationships with campus

administrators, elected officials, community leaders, voting experts, and their fellow peer

students who may join their efforts as recruited student volunteers.

       26.     AGF Ambassadors are trained and strategize their efforts during AGF’s annual

National Civic Leadership Training Summit (“Summit”). Specifically, the Summit provides an

opportunity to hear from national voting rights experts about the state of voting rights nationally

and state-by-state, and to learn: methods to increase voter accessibility; best practices in voter

registration drives; media and communications skills; how to build civic culture through texting;

lessons in civic activism; strategies to support volunteer recruitment and mobilization;

organizing and advocacy; coalition building; campaign building; and more.

       27.     AGF facilitates state-by-state, regional, and issue-based training and breakout

sessions at the Summit to encourage promising practices and strategic planning through

collaboration with peers, AGF staff, voting rights experts, and social justice leaders. AGF

continues training and assistance beyond the Summit and throughout the year, on-campus and in-

collaboration with AGF staff, including the Regional Program Managers, in part through weekly




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Case 3:19-cv-00365         Document 39-5         Filed 08/16/19      Page 8 of 19 PageID #: 436
or bi-weekly communications between the Campus Partners and the assigned AGF staff Program

Manager.

       28.     AGF has invested significantly in expanding and increasing its strength in the

South with the hires of two Regional Program Managers, one of whom is based in Tennessee and

maintains and develops that state’s portfolio in addition to other states throughout the Southeast.

Census and other data show the paltry voter registration and voting rates of citizens in Tennessee

compared to other states, and even more for young people, students of color, and low-income

students. AGF responded to this evidence with an investment in Tennessee to facilitate access to

the ballot for marginalized youth.

       29.     The Regional Program Manager reports to the nation-wide Vote Everywhere

initiative Program Director, and manages and implements programming at Campus Partners in

the South where contemporary and historical barriers to voting and social justice constrain youth

voting and other civic and political engagement. The Regional Program Manager’s Campus

Partner portfolio includes large public universities, Minority Serving Institutions like Historically

Black Colleges and Universities, community colleges, and private liberal arts colleges and

universities all of which have varied, unique, and rich cultures of civic engagement and

community upliftment. This position plays a key role in expanding AGF advocacy efforts in the

region by helping to identify opportunities for campus, local, state, and/or regional organizing

and advocacy efforts in support of primarily voting rights and social justice. The duties of the

position include managing, coaching, and supporting a portfolio of campus teams; researching,

supporting, and advising AGF Ambassadors; maintaining and cultivating relationships with

campus administrators; conducting outreach to local, state, and/or regional actors to identify

potential partnerships in support of campus teams’ efforts in the South; onboarding, integrating,



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Case 3:19-cv-00365         Document 39-5        Filed 08/16/19      Page 9 of 19 PageID #: 437
and managing new Campus Partners; conceptualizing, developing, and supporting resource and

training materials on political engagement by Campus teams, including digital tools such as

my.VoteEverywhere.org and the SMS texting platform; monitoring and evaluating

programming; and researching and staying updated on youth civic engagement and political

landscapes as well as national and state voting laws, and procedures in support of increased

student civic engagement and social justice efforts.

       30.     As a component of voter engagement, AGF maintains an online voter registration

portal that is included in AGF’s one-stop voter engagement portal my.VoteEverywhere.org.

This portal includes a link that directs students to the Tennessee Secretary of State’s website to

check their voter registration status and/or register to vote.

       31.     In conjunction with AGF’s voter engagement portal, AGF is rolling out a SMS

texting program to all 59 Campus Partners in Fall 2019. At each campus, students can sign up to

receive text message reminders and messages geared toward voter registration and engagement

at that campus. AGF Campus Partner teams will draft messages with information relevant to

their campus, such as when and where to vote, available transportation from campus to the polls,

and other civic engagement opportunities beyond voting.

       32.     The AGF uses SimpleTexting, a mass text messaging software to administer its

texting program. The platform allows for broadcast and peer-to-peer messaging. AGF

Ambassadors at each Campus Partner work with their Campus Champion and AGF’s Digital

Marketing Manager to plan, draft, schedule, and measure text messages in the lead-up to

elections as well as to facilitate broader civic engagement the rest of the academic year.

       33.     SMS text messaging is a proven and key part of AGF’s mobile strategy. Students

can sign-up online or by sending an SMS text to 555-888 with their Campus Partner name and



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Case 3:19-cv-00365         Document 39-5         Filed 08/16/19    Page 10 of 19 PageID #: 438
thereby opt-in to AGF’s texting program. Text messaging allows AGF to quickly communicate

with Campus Teams and anyone who opts-in, and to drive immediate action. The trust

established between the AGF and students, and the mutual value it provides, like immediate

delivery and instantaneous feedback and communication, and the simplicity of 160-character

messages together, make it a powerful tool for the AGF’s work.

       34.     Through targeted text messaging, the AGF and Campus Teams can reach each

other with relevant information instantaneously. AGF can conduct important civic engagement

campaigns using broadcast and peer-to-peer SMS messaging (i.e., sending messages out to an

entire list or engaging in one-on-one interactive conversations respectively).

       35.     AGF’s experience is that text messaging prior to an election boosts voter turn-out.

Texting is unique from other forms of voter outreach in that it is convenient, targeted, concise,

and a noticeable, effective reminder for them to get to the polls. A 2009 study examined the

effect of text messaging on 2006 turnout through a nationwide field experiment, finding a

statistically significant 3.1 percentage point increase in the likelihood of voting. Allison Dale and

Aaron Strauss, Don’t Forget to Vote: Text Message Reminders as a Mobilization Tool, American

Journal of Political Science, Volume 53, Issue 4, October 2009, Pages 787–804.

               AGF’s Vote Everywhere Initiative at Tennessee State University

       36.     Tennessee State University (“TSU”) is a part of the Vote Everywhere initiative,

and as such benefits from the national programming and support described above. TSU includes

one Campus Champion, two AGF Ambassadors, and the support of the Regional Program

Manager and AGF leadership when necessary.

       37.     TSU was previously supported by a Program Manager operating out of the

national headquarters in New Jersey, but that role has since been reassigned to the new

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Case 3:19-cv-00365        Document 39-5         Filed 08/16/19      Page 11 of 19 PageID #: 439
Tennessee-based Southeast Regional Program Manager. In addition to engaging in voter

registration and Get Out the Vote on-campus, the TSU Campus Team has collaborated with

students at a range of neighboring campuses including Fisk University, Vanderbilt University,

Middle Tennessee, Nashville State, Belmont University, Lipscomb University, University of

Memphis, University of Tennessee, and Meharry Medical College. The new Regional Program

Manager is working to further assist in introducing and institutionalizing AGF’s programming on

select campuses across Tennessee and the South.

       38.     AGF’s programming at TSU in the 2018-2019 academic school year has involved

voter registration, voter education, and civic engagement efforts including but not limited to: 1)

holding twenty-two voter registration and voter education table events called “Table-Top

Wednesdays” in or outside of the campus center in the middle of campus during lunch and

dinner hours; 2) the creation of an event called “Party to the Polls” wherein students pre-register

for a party bus to drive them to their assigned off-campus polling site; 3) the creation of “TSU

Go Vote Day,” whereby students are excused from class if they need to go vote; 4) a

collaborative event called “Voter Power Hour,” along with follow-up to the event, with nearby

Fisk College that explores student voter accessibility across the state; 5) Greek Fraternity and

Sorority efforts for “Tiger Election Watch Parties” across seven residential dorms on-campus on

Election Night; 6) multiple voter registration tables during high-impact events such as

Homecoming and Freshman Orientation; 7) a three-day-long door-to-door canvass event lead by

The Equity Alliance which brought students and community members together to knock on over

300 doors of Nashville residents to remind them of the upcoming election, inform them of their

polling location, and provide nonpartisan voter guides.




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Case 3:19-cv-00365        Document 39-5        Filed 08/16/19      Page 12 of 19 PageID #: 440
       39.     AGF Ambassadors engage in direct voter registration, and also train other

volunteer students prior to or in the beginning of the registration event on the basics of filling out

the voter registration application. As part of the training, AGF Ambassadors review the main

fields in the forms, and instruct volunteers to return the forms to the AGF Ambassador who then

hand delivers collected applications to the appropriate election office.

       40.     In the 2018-2019 academic school year, TSU’s AGF Campus Team collected

approximately 300 voter registration forms and participated in wider on-campus coalition efforts

that collected hundreds of more forms.

       41.     With the heightened interest among youth surrounding the upcoming 2020

election, and the added support of a Tennessee-based AGF Regional Program Manager, AGF

anticipates that, but for the new law, significant numbers of voter registration forms will be

collected from students at TSU and across the state.

       42.     With the heightened interest among youth surrounding the upcoming 2020

election, and the added support of a Tennessee-based AGF Regional Program Manager, AGF

anticipates that, but for the new law, significant numbers of youth voters will seek voter

education opportunities, including, as described above, on AGF platforms and the SimpleTexting

program.

                      The Impact of the Voter Registration Law on AGF

       43.     As a result of the new law, AGF will be forced to significantly reduce or halt

altogether its voter registration activities because the organization does not know whether it is

exempt from the provisions of Section 1 and Section 2 due to its use of AGF Ambassadors who

are paid a modest stipend to engage in a range of voter registration (including collecting voter

registration applications), electoral and civic engagement, education and social justice activities,

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Case 3:19-cv-00365        Document 39-5         Filed 08/16/19      Page 13 of 19 PageID #: 441
and due to AGF’s mixed network of paid staff, stipend AGF Ambassadors, and non-stipend

volunteers who are all engaged in AGF’s programming which, in part, includes the collection of

voter registration applications. The vagueness and ambiguity of the new law with regard to its

treatment of “incomplete” voter registration forms makes it impossible for students to determine

the accuracy of the information submitted on the voter registration forms. For example, students

are often unsure how to fill out the form with regard to their on-campus residency, and this often

depends on the specific preferences on the county level. Some county registrars require that

students include a dorm room number on the form, while others do not require this at all. Some

county registrars permit students to list the central business address for college campuses on the

voter registration forms, while others require the listing of a residential dorm name. Still others

require the listing of a residential dorm name rather than the specific street address for the

location of the dorm, or vice-versa. This lack of uniformity by county administrators in general is

reflective in the manner in which individual students interpret and complete their voter

registration forms. In some cases, students accidentally inverse the address information by listing

a residential dorm as a mailing address, and the campus mailbox as a residence. Throughout

these examples, although it is clear that the voter registrant is eligible to vote from their campus

address, it is unclear whether the form will be ultimately deemed incomplete by the applicable

election administrator, and it is unclear the degree to which the third-party voter registration

individual or organization will be held to task for the manner in which the voter registrant filled

out their own form.

       44.     The new law penalizes third party voter registration groups and individuals who

are engaged in good faith voter registration activities, by scaring them about the risk of civil and

criminal penalties and imposing a threat of penalty where there is no way of knowing whether



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Case 3:19-cv-00365        Document 39-5         Filed 08/16/19      Page 14 of 19 PageID #: 442
the form is filled accurately by the voter registrant, and there is no way of knowing whether the

third-party is subject to or exempt by the requirements.

        45.     The vagueness and ambiguity of the new law make it impossible for AGF to

responsibly provide guidance to AGF Ambassadors and its existing and potential Campus

Partners about whether to engage in voter registration efforts in Tennessee and under what terms.

        46.     As a result, the vagueness and ambiguity of the new law make it impossible for

AGF to provide adequate training and strategic assistance at the annual Summit, and following

the Summit on campuses throughout Tennessee, in the critical lead-up to the last academic cycle

prior to the 2020 general election.

        47.     Since the new law is vague with regard to coverage and exemption, any training

or instruction concerning program implementation would as an extension be inadequate.

        48.     The new law chills student voter registration efforts and impacts AGF’s

relationship with existing and new Campus Partners across Tennessee. It exposes good-faith

third-party voter registration efforts to liability be it with respect to the individual student

organizing or assisting voter registration drives, AGF as a third-party organization, AGF staff

who provide coaching to students and Campus Partners.

        49.     The new law clouds relationships with existing and potential new Campus

Partners in Tennessee, making it hard, if not impossible, to improve civic education and student

engagement in a state that runs close to the bottom nationally in terms of voter registration and

voter participation. Given the law’s criminal and civil liabilities, existing and new Campus

Partners will be cautious about partnering with AGF and allowing AGF to provide support to

AGF Ambassadors who are responsible for increasing civic engagement on campus, in part, by

promoting voter registration activities.



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Case 3:19-cv-00365         Document 39-5         Filed 08/16/19       Page 15 of 19 PageID #: 443
         50.   The new law makes it difficult for AGF to enter into partnerships with university

administrators or Campus Champions, engage with Ambassadors to lead AGF’s efforts on

campuses, recruit volunteer participants to work with AGF Ambassadors because these

individuals along with AGF, as an organization, take on the risk of exposure to criminal and civil

liabilities.

         51.   The disclaimer provisions are similarly problematic for AGF. Implementing the

compulsory speech over all communications and media landscape is impossible and significantly

expensive. AGF would have to update all training materials, website pages and the

my.VoteEverywhere portal, and electronic communications including email marketing, press

releases, media advisories, and social media channels such as Facebook, Twitter, Instagram, and

LinkedIn. It is difficult to conceive how this can be implemented on all text message exchanges

between users, and the additional expense needed for the added language, as well as the limited

number of characters permitted.

         52.   The requirement that this disclaimer be “clear and conspicuous and prominently”

placed so that it is not easily overlooked creates obstacles to communication design and may

serve as a distraction from the information being conveyed, particularly in light of the ambiguity

of whether this requirement is imposed for all publications that simply mention voter registration

in general, or for only those communications regarding the voter registration status of a

particular individual.

         53.   The compulsory language would increase AGF’s texting messaging costs and

would turn off users who receive this long repetitive message in each communication. Each

standard text message has a 160-character limitation, including automatic information by the

Simpletexting platform which informs recipients of their opportunity to opt-out of future texts. A



                                                15

Case 3:19-cv-00365        Document 39-5        Filed 08/16/19     Page 16 of 19 PageID #: 444
sample text message is: “Hey! Election Day is in one week … are you going to vote? Visit

my.voteeverywhere.org to find out who’s on the ballot! #SeawolvesVote.” That standard

message amounts to 133 characters with spaces, and represents the total characters available to

AGF within one text. The text of the compelled disclosure itself (“such communication is not

made in conjunction with or authorized by the secretary of state") is 90 characters long with

spaces. Thus, it is impossible to embed the disclaimer within the original text sent. Directing the

disclaimer in a second text message duplicates the cost to AGF and encourages unsubscribes.

        54.     Redundant messages would likely lead to increased rates of users unsubscribing

from AGF text messages, thus reducing AGF’s ability to prompt low propensity voters to vote.

Texting, is one of the most effective methods of increasing the voting rates of youth. As such,

increased unsubscribing from these communications would decrease AGF’s impact.

        55.     Moreover, AGF does not have the capacity or technology to monitor all peer-to-

peer messages to ensure compliance with this language, nor is it clear whether such technology is

available. These types of messages may occur when an individual recipient of a broadcast text

responds with a personal question, such as regarding the location of their unique polling location.

It is impossible to expect AGF Ambassadors, Campus Champions, or affiliated volunteers to

type out the compulsory language after every individualized text they send in a conversation

related to voter registration.

        56.     The threat of a criminal misdemeanor imposed for each violation of the

compulsory disclosure requirement on any person is a steep and onerous penalty in light of the

supposed offense being committed, and will only serve to chill public education related to voter

registration and voting.




                                                16

Case 3:19-cv-00365         Document 39-5       Filed 08/16/19      Page 17 of 19 PageID #: 445
       57.      The new law directly impacts AGF’s budget and its programs by requiring AGF

to expend more of its resources on monitoring its AGF Ambassador activities more closely so

that Campus Partners are assured that AGF’s activities are in compliance with the new Law. As

a result, AGF is determining whether to cease or at least scale down voter registration activities

in Tennessee.

       58.      AGF has not budgeted for compliance officers in Tennessee, but anticipates that it

may need at least one in order to comply with the new law. For context, the AGF does not use

compliance officers anywhere else in the nation. To do so would come at the expense of

engaging in actual voter registration. It would also be prohibitively expensive for the

organization which must expend resources on running civic engagement and voter registration

programs in many other states. Moreover, it is difficult to conceive how a compliance officer

would help avoid the penalties this law imposes, as it would still be impossible to determine if

the information on a voter registration form is accurate.

       59.      AGF is engaging in this lawsuit because the burden, vagueness and steep

penalties associated with the new law instill fear in voter registration efforts, which is an affront

to the legacy of the organization. The new law poses significant financial, technological, and

logistical challenges to continue to engage in student voter registration efforts in Tennessee.

Increasing investment in Tennessee detracts from AGF’s efforts in Tennessee, in other states,

across the region, and across the country, and may ultimately prove untenable for activities in

Tennessee.

       60.      AGF must expend resources to continue to monitor developments and change its

course of action depending on the state’s clarifications or corrections. Similarly, the new law will




                                                  17

Case 3:19-cv-00365         Document 39-5        Filed 08/16/19       Page 18 of 19 PageID #: 446
Case 3:19-cv-00365   Document 39-5   Filed 08/16/19   Page 19 of 19 PageID #: 447
